
HAYNES, J.
Under section 5033, Revised Statutss, relating to a change of venue in a suit against a corporation, the only issuable facts to be heard by the court of common pleas are: first, whether the party is a corporation; second, whether the corporation has more than fifty stockholders,and whether it keeps its principal office or transacts its principal business in the county in which the action is pending; third, the credibility and residence of the several persons signing the sustaining affidavits.
The plaintiff in this action, having filed in the court of common pleas the necessary affidavits for the removal of the case in that court under said section, which affidavits complied in form and substance with the said section, and no testimony having been offered by the corporation tending to disprove the statements in said affidavits, it was error for the court of common pleas to overrule said motion for removal. We find no other error in the record; but for above error the judgment of the court of common pleas is reversed and the verdiot of the jury set aside, and the cause remanded to the court of common pleas for further proceedings according to law.
This is not intended to conflict with or overrule the holding of the first circuit found in State ex rel. v. Wilson, 12 C. C. 636.
